                                                                  Case 2:19-cv-01719-DJH Document 30 Filed 07/19/19 Page 1 of 2




                                                            1   Robert S. Reder (024117)
                                                                Alexandra Mijares Nash (023364)
                                                            2   Kiri T. Semerdjian (033775)
                                                                BLYTHE GRACE PLLC
                                                            3   4040 East Camelback Road, Suite 275
                                                                Phoenix, Arizona 85018
                                                            4   Telephone: (602) 237-5366
                                                                Facsimile: (602) 237-5546
                                                            5   Email: robert@blythegrace.com
                                                                Email: anash@blythegrace.com
                                                            6   Email: kiri@blythegrace.com
                                                                Attorneys for Defendant
                                                            7

                                                            8                          UNITED STATES DISTRICT COURT
                                                            9                                  DISTRICT OF ARIZONA
                                                           10
                                                                 Daniel Fellner,                             No. 2:19-cv-01719-DJH
                                                           11
                                                                                       Plaintiff,
                    4040 East Camelback Road | Suite 275
BLYTHE GRACE PLLC




                                                           12                                                DEFENDANT’S NOTICE OF
                                                                 v.                                          SERVICE OF DISCOVERY
                          Phoenix, Arizona 85018




                                                           13                                                RESPONSES
                                                                 Travel 4 All Seasons, LLC,
                                                           14
                                                                                       Defendant.
                                                           15

                                                           16         Notice is given that on July 19, 2019, Defendant served Plaintiff by U.S. mail and
                                                           17   email Defendant’s Answers to Plaintiff’s First Set of Interrogatories and Defendant’s
                                                           18   Responses to Plaintiff’s First Set of Requests for Production of Documents.
                                                           19         DATED this 19th day of July 2019.
                                                           20                                           BLYTHE GRACE PLLC
                                                           21
                                                                                                        s/ Robert S. Reder
                                                           22                                           Robert S. Reder
                                                                                                        Alexandra Mijares Nash
                                                           23                                           Kiri T. Semerdjian
                                                                                                        4040 East Camelback Road, Suite 275
                                                           24                                           Phoenix, Arizona 85018
                                                                                                        Attorneys for Defendant
                                                           25

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                                                                  Case 2:19-cv-01719-DJH Document 30 Filed 07/19/19 Page 2 of 2




                                                            1                                      Certificate of Service
                                                            2          I certify that on this 19th day of July 2019, I electronically transmitted the attached
                                                            3   document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a
                                                            4   Notice of Electronic Filing to the following CM/ECF registrants:
                                                            5 Richard Liebowitz
                                                              Liebowitz Law Firm, PLLC
                                                            6 11 Sunrise Plaza, Suite 305
                                                              Valley Stream, New York 11580
                                                            7 Attorneys for Plaintiff

                                                            8
                                                                s/ Patti A. Jennings
                                                            9

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                    4040 East Camelback Road | Suite 275
BLYTHE GRACE PLLC




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                          Phoenix, Arizona 85018




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